               THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                 CIVIL CASE NO. 1:24-cv-00139-MR


SAI ROSE,                       )
                                )
                   Plaintiff,   )
                                )
          vs.                   )                       ORDER
                                )
AFG DISTRIBUTION INC., d/b/a    )
Pulsar Vaporizers,              )
                                )
                   Defendant.   )
_______________________________ )

      THIS MATTER is before the Court sua sponte.

      The pro se Plaintiff filed his Complaint on May 7, 2024, asserting claims

of patent infringement against the Defendant AFG Distribution Inc. [Doc. 1].

On October 21, 2024, the Defendant filed an Answer and Counterclaims

against the Plaintiff, seeking declarations of non-infringement. [Doc. 21]. To

date, the Plaintiff has not filed a reply to the Defendant’s Counterclaims.

      Without a reply to these counterclaims, issues in this case cannot join

and the case cannot proceed. The Court therefore will order the Plaintiff to

file a reply to the Defendant’s Counterclaims. The Plaintiff is warned that

failure to comply with this Order will result in the entry of default against him




      Case 1:24-cv-00139-MR     Document 22    Filed 12/05/24   Page 1 of 2
with respect to these Counterclaims and the dismissal of his infringement

claims against the Defendant.

     IT IS, THEREFORE, ORDERED that, within fourteen (14) days of the

entry of this Order, the Plaintiff shall file a reply to the Defendant’s

Counterclaims. The Plaintiff is warned that failure to comply with this

Order will result in the entry of default against him with respect to these

Counterclaims and the dismissal of his infringement claims against the

Defendant.

     IT IS SO ORDERED.
                           Signed: December 5, 2024




                                        2



      Case 1:24-cv-00139-MR     Document 22       Filed 12/05/24   Page 2 of 2
